
710 S.E.2d 33 (2011)
SIGNATURE DEVELOPMENT, LLC
v.
SANDLER COMMERCIAL AT UNION, L.L.C.
No. 512P10.
Supreme Court of North Carolina.
June 15, 2011.
James B. Gatehouse, Charlotte, for Signature Development, LLC.
Gary J. Welch, Charlotte, for Sandler Commercial at Union.
D. Kyle Deak, Raleigh, for Wells Fargo Bank.

ORDER
Upon consideration of the petition filed on the 7th of December 2010 by Plaintiff in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 15th of June 2011."
